          Case 1:20-cv-01002-APM Document 101 Filed 07/01/20 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

    CONFEDERATED TRIBES OF THE
    CHEHALIS RESERVATION et al.,
                        Plaintiffs,
          v.                                         Case No. 1:20-cv-1002-APM
    STEVEN MNUCHIN, in his official capacity
    as Secretary of the Treasury,
                        Defendant.

    CHEYENNE RIVER SIOUX TRIBE et al.,
                        Plaintiffs,
          v.
                                                     Case No. 1:20-cv-01059-APM
    STEVEN MNUCHIN, in his official capacity
    as Secretary of the Treasury,
                        Defendant.

    UTE TRIBE OF THE UINTAH AND
    OURAY RESERVATION,
                        Plaintiff,
          v.                                         Case No. 1:20-cv-01070-APM
    STEVEN MNUCHIN, in his official capacity
    as Secretary of the Treasury,
                        Defendant.

                               RESPONSE TO COURT ORDER
         Pursuant to the Court’s June 29, 2020, Minute Order, the Parties have met and conferred

regarding a schedule for briefing Plaintiffs’ Motion for Injunction Pending Appeal (ECF No. 99). 1

The Parties propose that Defendants file any oppositions to the motion by today, and that Plaintiffs

file any reply brief by Friday, July 3, 2020. The Parties agree that the Court need not set a hearing

for this motion.

1
  As of this filing, the Parties have not yet received final confirmation from the Cheyenne River
Sioux Plaintiffs, although they have been included in all e-mails among the Parties. Given the
Court’s deadline, Defendant is filing this notice ahead of that final confirmation.


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        Case 1:20-cv-01002-APM Document 101 Filed 07/01/20 Page 2 of 2




       Consistent with the Court’s order, Defendant will provide at least one business day’s notice

before disbursing any CARES Act funds designated for Alaska regional or village corporations.


Dated: July 1, 2020                                 Respectfully submitted,

                                                    JOSEPH H. HUNT
                                                    Assistant Attorney General

                                                    ERIC WOMACK
                                                    Assistant Branch Director

                                                    /s/ Jason C. Lynch
                                                    Jason C. Lynch (D.C. Bar No. 1016319)
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